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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

G.M. Sign, Inc.
                                    Plaintiff,
v.                                                    Case No.: 1:15−cv−05341
                                                      Honorable John Robert Blakey
Cash Solutions, LLC, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 24, 2015:


        MINUTE entry before the Honorable John Robert Blakey: Pursuant to plaintiff's
notice of voluntary dismissal [9], this case is hereby dismissed without prejudice under
Rule 41(a). The 8/11/15 initial status conference is stricken; the parties need not appear.
Civil case terminated. Mailed notice(ntf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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